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lN C':EL‘}ESEOFDF|CE
U.S. DlSTRlCT COURT E_D.N.Y.

JJD;cMM
F. #2015R0214s _ ' * OCT 13 2915 *
UNITED srATEs DISTRJCT COURT LONG lsl.AND oFFICE
EASTERN DISTRICT 01= NEW YoRK

____________ X

UNITED STATES or AMERICA IN D 1 c T M E N T

 

 

- against- ` CG\IB 1 6 5 4 0

‘ (T. 18, U.S.C., §§ 371, 666(a)(l)(B),
EDWARD MANGANO, 981(3)(1)(€), 982(a)(2)(A), lOOl(a)(Z), .
LINDA MANGANO and 1343, 1346, 1349, 1512(0)(2), 1512(]<),

JOI-]N VENDITTO, 1951(a), 2 and 3551 e_t§eg.; T. 21, U.S.C.,
§ 853(p)§ T. 28, U.S.C., § 2461(c))
Defendants.
X AZRACK, \I.

THE GRAND J'URY CI-]`_ARGES: BROWN’ M‘ J°
m INTRODUCTION TO ALL COUNTS

At all times relevant to this Indictment, unless otherwise indicated: f

l Nassau Countv and the Town of Ovster BaY

1. Nassali County vi!as a county- in the State of New York. Nassau
County had approximately 1.3 million residents and Was comprised of two cities, three
towns, 64 villages, and more than 60 harnlets. Nassau County awarded contracts to provide
services to the public. ln or about and between 2010 and the present, Na.ssau County
received in excess of '$10,000 each calendar year under federal programs involving grants
and other forms of federal assistance

2. One of the three towns in Nassau County was the Town of Oyster Bay
(the “TOB”). The TOB Was comprised of 18 villages and 18 hamlets, all of which Were

located in Nassau County. The Town Board was the legislative authority for the TOB. 'I'he

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2
TOB awarded contracts t'o provide services to the public. ln or about and between 2010 and
the present, the TOB received in excess of $10,000 each calendar year under federal
programs involving grants and other forms of federal assistance
f!:he Defendants and Co-Conspirator #1

3. Since January 2010, the defendant EDWARD MANGANO has served
as the Nassau County Execntive. EDWARD MANGANO, the highest ranking elected
official in Nassau County, acted as both the chief executive and fiscal officer of Nassau
County.

4. I'he defendant LINDA MANGAN 0 was the W`ife of the defendant
EDWARD MANGANO. Betwcen April 2010 and Angust 2014,-LINDA MANGANO was l
_ paid more than $450,000 for performing little or no work by a local businessman-and
restaurateur,-an individual Whose identity is known to the Grand .Tury (“Co-Co_nspirator #1”).

5. since Jenuely 1993, the defendant JOHN vENDITTo has served es
the TOB Supervisor. VENDITTO, the highest ranking elected official in the TOB, acted as
both the chief executive and fiscal officer of the Town. As Supervisor, VENDITTO was a
member of the TOB Town Board, presided over Town ]Bloard meetings, and voted on matters
before the Town Board.

6. Co-Conspirator #1 owned and operated approximately 30 bnsinesses,
located primarily in Nassau County. One of the businesses Was a restaurant located in
I-licksviHe, New Yorlc (“Restaurant #1”). Anotlier of the Co-Conspirator #1 business

entities was a restaurant located in Queens, New York (“Restaurant # ”).

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7.' Some of Co-Conspirator #l ’s business entities were awarded contracts
by Nassau County and the TOB, including, but not limited to, contracts to provide food
services to certain Nassau County agencies and concession agreements to operate various
food concessions within the TOB.

The Defendants’ Crirninal Schemes
I. Solicitation and Receipt of Bribes in Exchange for Of`ficial Action
_ s. 1a et about end between naaer 2010 end Febmety 2015, the

defendantS`EDWA_RD MANGANO and JOI~IN VENDITTO, together with others, engaged
in a scheme to solicit and receive bribes and kickbacks from Co-Conspirator #1 in exchange
for EDWARD MANGAN 0 and .TOHN VENDITTO performing official actions, on an as-
needec't basis, as opportunities arose, in connection with Co-Conspi_rator #1 ’s businesses in
Nassau County and the TOB, including, but not limited to: (a) the TOB’s guarantee of
certain loans that certain business entities of Co-Conspirator #1 received from a bank, the
identity of which is known to the Grand Jury (the “B-ank”), and a private financing company,
the identity of which is known to the Grand lury (the “Lender”), in connection with Co-
Conspirator #1 ’s status as a TOB concessionaire (the “TOB Loan Seheme”); and (b) Nassau
County’s award of certain contracts to certain business entities of Co-Conspirator #1 (the
“Nassau County Contracts Scheme").

9. With respect to the TOB Loan Scheme, Co-Conspirator #1, through a
business entity (“Restaurant #3”), had a concession agreement with the TOB to operate a
restaurant and catering facility on property owned by the TOB. ln addition,

Co-Conspirator #1, through another business entity (“Restaurant #4”), had a concession

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agreement with the TOB to operate the concession stands at one of the TOB’s municipal
beaches.

10. Beginning in or about lanuary 2010 through-in or about l)ecember
2013, Co-Conspirator #1 sought a series of loans totaling over $20 million from the Bank
and the Lender for financing related to capital improvements for Restaurant #3,

Restaurant #4, and concessions at two additional TQB municipal beaches. ln order for
Co-Conspirator #1 to obtain these loans, the TQB indirectly guaranteed the loans through
amendments to the TOB’-s concession agreements with Restaurants #3 and #4. As a result
of the loan guarantees, the TOB agreed to repay the Bank or the Lender the entire amount of
the loans if Co-Conspirator #l or Co-Conspirator #1’s business entities defaulted on the
loans.

l 1. Among other things, EDWARD MANGAN 0 used his official position
to advise and pressure JOHN VENDITTO to execute the amendment to the concession
agreement between the TOB and Restaurant #4 in 2010, and the subsequent concession
amendments in 2011 and 2012 between the TOB and Restaurants #3- and #4, all of which
served as indirect guarantees for loans given to Co-Conspirator #1 and Restaurants #3
and #4. Among other things, VENDITTO voted on Town Board resolutions related to the
concession agreements and the amendments thereto between the TOB and Restaurants #3
and #4, signed the 2010 amendment to the concession agreement,' and had another TOB
official sign, on his behalf, the 2011 and 2012 amendments to the concession agreements, all
of which served as indirect guarantees for loans given to Co-Conspirator #1 and

Restaurants #3 and #4.

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12. l In addition, beginning in approximately late 2011 through
approximately December 2012, Co-Conspirator #l, through certain business entities, was
awarded lucrative contracts by Nassau County, including but not limited to certain contracts
worth hundreds of thousands of dollars to provide food services to Nassau County agencies
(the “Nassau County Contracts”). Among other things, MANGAN 0 used his official
position to advise and pressure Nassau County officials to award the Nassau County `
Contracts to Co-Conspirator #1.

13. Beginning in or about Ianuary 2010. through in or about Febmary 2015,
in exchange for all of the above benefits they provided to Co-Conspirator #l and Co-
Conspirator #l ’S business entities, EDWARD MANGANO, .TOHN VENDITTO and others,
received from Co-Conspirator #l , among other things, various hotel and travel expenses,
limousine services, meals, and other gifts, including, but not limited to, a massage chair, a
_ Panerai Luminor watch, hardwood flooring and installation at the residence of EDWARD
MANGANO and LINDA MANGANO, the free use of private office space, and significantly
discounted rates for events and fundraisers held at Co-Conspirator #1 ’s restaurants In
addition, as set forth above, Co-Conspirator #1 paid L]]\lDA MANGANO over $450,000 for
performing little or no work in connection with a job with Restaurant #2.

14. In furtherance of the negotiations for the Bank and Lender loans and
potential additional financing for Co-Conspirator #l ’s business entities that held TOB
concessions, as well as in furtherance of the negotiations for the Nassau County Contracts,

EDWARD MANGANO, JOH`N VEN`.DI'I`TO, Co-Conspirator #-l and others transmitted or

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caused to be transmitted interstate email communications from the Eastern District of New .
York.
II. Obstruction of Justice
15. ln or about and between March 2014 and December 2015, the United
States Attomey’s Office for the lE,astern District of New Yorl( and Special Agents with the
Federal Bureau of lnvestigation (“FBI”) served the TOB with eight grand jury subpoenas for,
among other things, any and all records related to Co~Conspirator #1 and
Co-Conspirator #l ’s concession agreements with the TOB.
v 16. _On or about February 3, 2015, Special Agents with the FBI served
' LINDA MAN GAN 0 with a grand jury subpoena for, among other things, any and all records
related to her employment with Co-Conspirator #1 and Restaurant #2.
A. EDWARD MANGANO and L[N'DA MANGANO’S Obstruction of Justice
17. Beginning in or about lanuary 2015 through the present, EDWARD
MANGA_NO and h,l]\lDA MANGANO conspired to influence, obstruct and impede the
underlying grand jury investigation Among other things, EDWARD MANGANO and
L[NDA MANGANO repeatedly met with Co-Conspirator #l , at which times EDWARD
MANGANO and LINDA MANGANO fabricated stories in an attempt to explain LINDA
MANGANO’s employment by Co-Conspirator _#1 and Co-Conspirator #l ’s payments of
gifts and vacation expenses for EDWARD M_ANGANO, LINDA MANGANO and their
family members.
18. On January 13, 2015, FBI Special Agents interviewed L[NDA

MANGANO at her residence in Bethpage, New York and asked her about, among other

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things, her employment by Co-Conspirator #1 at Restaurant #2. During the interviews
among other things, LINDA MAN GAN 0 fabricated examples of work she claimed to have
performed-for Co-Conspirator #1. At the conclusion of the lanuary 13, 2015 interview, the
FBI agents advised LINDA MANGAN 0 that lying to federal officials constituted a federal
crime. After being asked whether she wished to revise the statements she made to the FBI
agents, LINDA MANGANO stated that she did not.

19. On May 20, 2015 and May 24, 2015,' federal prosecutors and Special
Agents with the FBI and lnternal Revenue Service-Crimi'nal lnvestigations (“lRS-C ”)
interviewed LINDA MANGAN 0 at the United States Attorney’s Office for the Eastern
District of New York in Central Islip, New York and asked her about, among other things,
her employment by Co-Conspirator #1 at Restaurant #2. At the beginning of the May 20,
2015 and May 24, -2015 interviews, LINDA MAN GAN 0 was advised that lying to federal
officials constituted a federal crime. During the interviews, among other things, LINDA
M_ANGAN 0 fabricated examples of work she claimed to have performed for Co-
Conspirator #1.

B. JOI-l:l\l VENDITTO’B Obstructiori of .Tustice

20. On Octobei' 23, 2015 and December 18, 2015, federal prosecutors and
Special Agents with the FBI and lRS-Cl interviewed the defendant .lOI-I`N VENDITTO at the
United States Attorney’s Office for the Eastern Distc'ict of New York in Central lslip, New
Yorlc and asked him about his involvement in, among other things, the TOB Loan Scherne.
At the beginning of each interview, VENDITTO was advised that lying to federal officials

constituted a federal crime. Duri.ng the December 18, 2015 interview, among other things,

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VENDITTO falsely claimed that he had not received anything of value from
Co-Conspirator #l. In fact, however, `VENDITTO had received benefits from
Co-Conspirator #l, including, but not limited to, limousine services, the free use of private
oH"ice space, and significantly discounted rates for events and fundraisers held at

`Co-Conspirator #l ’s restaurants

COUNT ONE
_(Conspiracy to Cornrnit Federal Pro gram Bribery)

21 . The allegations set forth in paragraphs one through 20 of this
lndictment are realleged and incorporated as if fully set forth in this paragraph

22. In or about and between January 2010 and Februa.ry 2015, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendants EDWARD M_ANGANO and JOI-IN VENDI’[TO, together with others, being
agents of local governments, to wit: Nassau County and the TOB, did knowingly and
willfully conspire to corruptly solicit and demand for the benefit of _EDWARD MANGAN 0
and JOHN VENDITTO, and accept and agree to accept, one or more things of value, from
one or more persons, to wit: Co-Conspirator #l, intending to be influenced and rewarded in
connection with business and one or more transactions and series of transactions of Nassau
County and the TOB involving things of value of $5,000 or more, while such governments
Were in receipt of, in any one year period, benefits in excess of $10,000 under one or more
Federal programs involving grants, contracts, subsidies, loans, guarantees, insurance and
other forms of federal assistance, contrary to Title lS, United States Code, Section

666(3)(1)(13).

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23. In furtherance of the conspiracy, and to effect its obj ects, within the
Eastern District of New York, the defendants EDWARD MANGANO and JOHN
VENDITI`O committed and caused to be committed, the following:
OVERT ACTS

a. On or about April 9, 2010, Co-Conspirator #l issued LINDA
MANGAN 0 a paycheck for a job with Restaurant #2 in which LINDA MANGAN 0
performed little or no work;

b. On or about April 28, 2010, EDWARD MANGANO, JOHN
VENDITTO, Co-Conspirator #1 and others met in VENDITTO’s office in North
Massapequa, New York;

c. On or about lune 9, 2010, .TOHN VENDITTO and Co-
Conspirator #1 signed an amendment to a concession agreement With the TOB;

d. On"or about September 17, 2012, Co-Conspirator #l purchased
a massage chair for EDWARD MANGANO at EDWARD MANGANO’s request;

e. {l)n or about June 8, 2013, Co-Conspirator #l paid for a
limousine service used by .TOl-]N VENDI'ITO; and

f. on or about Aogust 4, 2014, coconspirator #1 issued LrNDA
MANGANO a paycheck for a job with Restaurant #2 in which Ll'N'DA MANGANO
performed little or no work.

(Title 18, United States Code, Sections 371 and 3551 e_t B-)

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COUNT rwo
(F ederal Pro gram Bribery)

l 24. The allegations set forth in paragraphs one through 20 of this '

Indictment are realleged and incorporated as if iiilly set forth in this paragraph

25. in or about and between lanuary 2010 and February 2015, both dates

_ being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants EDWARD' MANGANO and .TOIrlN VENDITTO, together with others, being
agents of local governments, to wit: Nassau County and the TOB, did knowingly,
intentionally and corruptly solicit and demand for the benefit of EDWARD MANGAN 0 and
.TOHN VENDITTO, and accept and agree to accept, one or more things of value, from one or
more persons, to wit: Co-Conspirator #1, intending to be influenced and rewarded in n
connection with business and one or more transactions and series of transactions of such
governments involving things of value of $5,000 or more, while such governments were in
receipt of, in any one year period, benefits in excess of $10,000 under one or more Federal
programs involving grants, contracts, subsidies, loans, guarantees, insurance and other forms
of Federal assistance.

(Title 1_8, United States Code, Sections 666(a)(1)(`,|3), 2 and 3551 e_t B.)

_ COUNT TI-IREE
(Conspiracy to Commit Honest Services Wire Fraud)

26. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph.
27. in or about and between January 2010 and Febmary 2015, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

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defendants EDWA_RD MANGANO and JOHN VENDIT'I`O, together with others, did
knowingly and intentionally conspire to devise a scheme and artifice to defraud and deprive
the citizens of Nassau County and the TOB and the governments of Nassau County and the
TOB of their intangible right to the honest services of EDWARD MANGANO and JOHN
VENDITTO through bribery and kickbacks, and for the purpose of executing such scheme
and artifice, to transmit and cause to be transmitted, by means of wire communication in
interstate commerce, writings, signs, signals, pictures and sounds, contrary to Title 18,
United States Code, Sections 1343 and 1346.

(Title 18, United States Code, Sections 1349 and 3551 e_t Lq.)

COUNT FOUR
(I-Ionest Services Wire Fraud)

28. ' The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

29. ln or about and between January 2010 and February 2015, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendants EDWA_RD M,ANGANO and JOI-]N VENDITTO, together with others, did
knowingly and intentionally devise a scheme and artifice to defraud and deprive the citizens
of Nassau County and the TOB and the governments of Nassau County and the TOB of their
intangible right to the honest services of EDWARD MANGAN 0 and JOHN VENDITTO
through bribery and kickbacks, and for the purpose of executing such scheme and artifice,
the defendants, together with others, transmitted and caused to be transmitted by means of
wire communication in interstate commerce, writings, signs, signals, pictures and sounds, to

wit: an interstate email transmission, dated November 2, 2011, from Co-Conspirator #l to an

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individual involved in the negotiation of loans in connection with Co-Conspirator #1’5 status
as a TOB concessionaire

(Title 18, United States Code, Sections 1343, 1346, 2 and 3551 e_t §eg_.)

Q,Q._UN_TM
(Honest Services Wire Fraud)

30. The allegations set forth in paragraphs one through 20 of this
indictment are realleged and incorporated as if fully set forth in this paragraph

31. la or about and bomooo Jaouary 2010 aaa Fobroary 2015, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant EDWARD MANGANO, together with others, did knowingly and intentionally
devise a scheme and artifice to defraud and deprive the citizens of Nassau County and the
government of Nassau County of their intangible right to the honest services of EDWARD
MANGANO through bribery and kickbacks, and for the purpose of executing such scheme
and artifice, the defendant, together with othersy transmitted and caused to be transmitted by
means of wire communication in interstate commerce, writings, signs, signals, pictures and
sounds, to wit: an interstate email, dated November 5, 2012, horn an employee of Co-
Conspirator #l to an individual employed by Nassau County regarding Restaurant #l ’s
catering for a Nassau County agency.

(Title 18, United States Code, Sections 1343, 1346, 2 and 3551 e_t §¢;q.)

COUNT SIX
(Extortion)

32. The allegations set forth in paragraphs one through 20 of this

Indictment are realleged and incorporated as if fully set forth in this paragraph

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33. ' in or about and between lanuary 2010 and August 2014, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant EDWARD MANGANO, together with others, did knowingly and intentionally
obstruct,` delay and aH`ect commerce, and the movement of articles and commodities in
commerce, by extortion, in that the defendant and others obtained property, to wit: more than
$450,000 to ]`_,INDA MANGANO for performing little or no work, various hotel and travel
expenses, meals, a massage chair, a Panerai Luminor watch, hardwood flooring and
installation and other forms of payment, from Co-Conspirator #l, with Co-Conspirator #l ’s
consent, which consent was to be induced under color of official right, to wit: EDWARD
MANGANO’s_ position as Nassau County Executive.

(Title 18, United States Code, Sections l951(a), 2 and 3551 et seg.)

QCM
(Conspiracy to Obstruct Justice - EDWARD MANGANO and LINDA MANGANO)

34. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fiilly set forth in this paragraph

35. fn or about and between August 2014 and October 2016, both dates
being approximate and inclusive, within the Eastern District of New York, the defendants
EDWARD MANGANO and LlNDA MANGANO, together with others, did knowingly,
intentionally and corruptly conspire to obstruct, influence and impede an official proceeding,
to wit: a federal grand jury investigation in the Eastem Disuict of New York into the
offenses charged in Counts One through Six, contrary to Title 18, United States Code,

Section 15 12(0)(2).

(Title 18, United States Code, Sections 1512(lc) and 3551 e_t Lq.)

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COUNT EIGHT
(Obstruction of Justice - LINDA MANGANO)

36. Thc allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

37. ln or about and between August 2014 and OCtober 2016, both dates
being approximate and inclusive, within the Eastern District of New York, the defendant
LIN'DA MANGANO, together With others, did knowingly, intentionally and corruptly
obstruct and impede, and attempt to obstruct and impede an official proceeding to wit: a
federal grand jury investigation in the Eastern District of New York into the offenses charged
in Counts One through Six.

(Title 18, United States Code, Sections 1512(0)(2), 2 and 3551 e_t Siq.)

COUNT NINE
(False Statements (January 13, 2015) - LINDA MANGANO)

38. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

39. On or about January 13, 2015_, within the Eastern District of New York,
the defendant LINDA MANGANO-did knowingly and willfully make a materially false,
'flctitious and fraudulent statement and representation, in a matter within the jurisdiction of
the executive branch of the Government of the United States, to wit: the FBI, in that the
defendant falsely stated and represented to FBI Special Agents that she performed certain

specified tasks in connection with her employment with Co-Conspirator #1 and

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Restaurant #2, when in fact, as she then and there well knew and believed, the defendant did
not perform those tasks.
(Title 18, United States Code, Sections 1001(a)(2) and 3551 e_t Lq.)

CoUN'r TEN
(False statements (May 20, 2015) _ LINDA mNGANo)

40. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

41. on or abate May 20, 2015, within the salem Disaicr of New York,
the defendant LINDA MANGANO did knowingly and willfully make a materially false,
fictitious and fraudulent statement and representation, in a matter within the jurisdiction of
the executive branch of the Government of the United States, to wit: the FBI and the IRS-CI,
in that the defendant falsely stated and represented to FBI and IRS-CI Special Agents that
she performed certain specified tasks in connection with her employment with Co-
Conspirator #1 and Restaurant #2, when in fact, as she then and there well knew and
believed, the defendant did not perform those tasks.

(Title 18, United States Code, Sections 1001(a)(2) and 3551 e_t M.)

COUNT ELEVEN -
(False Statements (May _24, 2015) - LIN'DA MANGANO)

42. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

43. On or about May 24, 2015, within the Eastern District of New York,
the defendant LINDA MANGAN 0 did knowingly and willfully make a materially false,

fictitious and fraudulent statement and representation1 in a matter within the jurisdiction of

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the executive branch of the Goverrnnent of the United States, to wit: the FBI and the IRS»CI,
in that the defendant falsely stated and represented to FBI and IRS-Cl Speciai Agents that
she performed certain specified-tasks in connection With her employment with Co-
Conspirator #1 and Restaurant #2, when in fact, as she then and there well knew and
believed, the defendant did not perform those tasks.

(Title 18, United States Code, Sections 1001(a)(2) and 3551 e_t §_eg_.) l

COUNT TWELVE
' (Obstruct:ion of Iustice - JOI-]N VENDITTO)

44. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph

45. n ln or about and between August 2014 and October 2016, both dates
being approximate and inclusive, within the Eastern District of New Yorl<, the defendant
JOI-IN VENDITTO did knowingly, intentionally and corruptly obstruct and impede, and
attempt to obstruct and impede, an official proceeding, to wit: a federal grand jury
investigation in the Eastern District of New Yorlc into the offenses charged in Counts One
through Four.

(Title 18, United States Code, Sections 1512(0)(2) and 3551 et §e_q-)

COUNT TH[RTEEN
(False Statements (December 18, 2015) - .lOI-[N V`ENDITTO)

46. The allegations set forth in paragraphs one through 20 of this
Indictment are realleged and incorporated as if fully set forth in this paragraph
47. On or about December 18, 2015, within the Eastern Distiict of New

York, the defendant JOHN V`ENDITTO did knowingly and willfully make a materially false,_

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fictitious and fraudulent statement and representation, in a matter within the jurisdiction of
the executive branch of the Government of the United States, to wit: the FBI and the IRS-CI,
in that the defendant falsely stated and represented to FBI and IRS-CI Special Agents that he
did not receive anything of value from Co-Conspirator #1, when in fact, as he then and there
well knew and believed, he received benefits from Co-Conspirator #1, to wit: limousine
services, the free use of private office space, and significantly discounted rates for events and
fundraisers held at Co-Conspirator #1’s restaurants -

(Title 18, -United States Code, Sections 100-1(a)(2) and 3551 g ch.)

CRIN[[NAL FORFEITURE ALLEGATION
AS TO CO[JN l`S ONE. TWO AND SD(

48. The United States hereby gives notice to the defendants EDWA.RD
MANGAN 0 and JOHN VENDITTO that, upon conviction of any of the offenses charged in
Counts One, Two and Six, the government will seek forfeiture in accordance with Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(0),
of any property, real or personal, constituting or derived from proceeds traceable to such
offenses q
49. If any of the above-described forfeitable property, as a result of any act
or omission by the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

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1 8
e. has been commingled with other property which cannot be
divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendants up to the value of the forfeitable
property described in this forfeiture allegation

(Title 18, United States _Code, Section 981(a)(l)(C); Title 21, United States
Code, Section 853(p); Title 28, United States Code, Section 2461(0)]

CR]]VIINAL FORPEITUR_E ALLEGATION
AS TO COUNTS TI-[REE. FOUR AND FIVE

50. The United States hereby gives notice to the defendants EDWARD
MANGAN 0 and J`OHN V`ENDIT'I`O that, upon conviction of any of the offenses charged in
Counts Tb.ree, F our and Five, the government will seek forfeiture in accordance with Title
18, United States Code, Section 982(a)(2)(A), which requires any person convicted of such
offenses to forfeit any property constituting or derived from proceeds obtained directly or
indirectly as a result of such offenses
51. If any of the above-described forfeitable property, as a result of any act
or omission cf the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

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1 9
e. has been commingled with other property which cannot be

divided without diBicultly;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to
Seek forfeiture of any other property of the defendants up to the value of the forfeitable
property described in this forfeiture allegation

(Title 18, United States Code, Section 982(3}(2)(A); Title 21, United States

-code, secth ssz(p))
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